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~ UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

x
TAKISHA REID,

Plaintiff, DECLARATION

-against- 20 CV 3926

THE CITY OF NEW YORK POLICE DEPT.,
THE CITY OF NEW YORK,
NYPD OFFICER GREGORY HOWARD,
JOHN AND JANE DOES 1-5

Defendants.

---- Xx

 

I, EDWARD MACHUCA, do hereby swear under 28 U.S.C. 1746 that the following is
true under the penalties of perjury.

1. Iam over eighteen (18) years old.

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| am not a party to this action.

On August 27, 2020, I served the defendant City of New York with a summons and

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complaint in this action.
4. The service was effectuated at 100 Church street with Jerry Bradshaw who stated that he

was the person who was authorized to accept service on behalf of the City.

Dated: August 27, 2020
New York, New York 10007

 

Edward Machuca
